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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


UNITED STATES OF AMERICA
                                                     CRIMINAL DOCKET CASE #
      v.
                                                     1:16-CR-243-ODE-JFK

NATHAN VAN BUREN


                     AMENDED MOTION FOR NEW TRIAL

      The Defendant, NATHAN VAN BUREN, by and through his undersigned

counsel, hereby moves this Court, pursuant to Rule 33 of the Federal Rules of

Criminal Procedure, for a new trial in the above captioned case.1 In support of this

Motion, Mr. Van Buren offers the following:

      Rule 33 provides: “Upon the defendant’s motion, the court may vacate any

judgment and grant a new trial if the interest of justice so requires.” Fed. R. Cr.

P. 33(a). For a timely filed motion for new trial, the Court “has very broad discretion

in deciding whether there has been a miscarriage of justice.” United States v. Schlei,

122 F.3d 944, 990-91 (11th Cir. 1997). Mr. Van Buren should be granted a new trial

because he was prejudiced by inadequate and incorrect instruction having been



      1
        Mr. Van Buren previously filed a timely Motion for New Trial, asking for
the opportunity to review the relevant transcript portions and thereafter perfect the
motion. (Doc. 89). This Court granted that request, and allowed for additional time.
(Docs. 90, 97, 98). This amended motion perfects his earlier motion.
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provided to the jury on the honest services fraud count, and because the evidence at

trial was insufficient to support conviction.

                     Honest Services Fraud Jury Instruction

      Mr. Van Buren was charged, in Count 1, with defrauding the citizens of

Cumming, Georgia, and the Cumming Police Department (“CPD”), of the intangible

right of his honest services through bribery and the concealment of material

information. (Doc. 37). The theory of the prosecution was that Mr. Van Buren, a

CPD officer, had looked up on the GCIC database the name of an individual

associated with a license plate number, at the request of Cumming resident Andrew

Albo, and that Mr. Albo had paid Mr. Van Buren $1,000 in exchange.

      Regarding Count 1, Mr. Van Buren requested that the jury be given the current

relevant Eleventh Circuit Pattern Jury Instruction, modified to reflect that the honest

services fraud charged was wire fraud, rather than mail fraud. (Doc. 70 at 17-20,

Defendant’s Request to Charge No. 15). Mr. Van Buren’s requested instruction

modified Eleventh Circuit Pattern Jury Instruction, Offense Instruction 50.2 to

incorporate the elements of wire fraud contained in Offense Instruction 51. The

Government initially requested a modification of an older version Eleventh Circuit

Pattern Jury Instruction, Offense Instruction 50.2. (Doc. 69 at 16-18, Government’s

Request to Charge No. 12). The older version of Instruction 50.2 submitted by the

Government predated the Supreme Court’s ruling in McDonnell v. United States,


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136 S. Ct. 2355 (2016), which set limits on what qualifies as an “official act” by a

public official. 2 The current version of Instruction 50.2 submitted by Mr. Van Buren

reflected the current state of the law after McDonnell, particularly in the instructions

regarding what is an “official act.”

      The government, apparently recognizing that its proposed jury instruction did

not incorporate McDonnell, but not aware of the most recent, post-McDonnell

version of pattern Instruction 50.2, submitted a supplemental request to charge at the

charge conference. In its supplemental request to charge, the government crafted

additional instruction as to what constituted an “official act.” Thus, the government

proposed to give an old version of Instruction 50.2 that did not reflect the law on

“official act” following McDonnell paired with a self-crafted instruction on “official

act,” while Mr. Van Buren proposed to give the current Eleventh Circuit Pattern

Instruction 50.2.3

      Mr. Van Buren objected to the proposed “official act” instruction crafted by

the government. Mr. Van Buren argued that the government’s drafted instruction


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          There was initially confusion at the charge conference in discussing the
government’s proposed instruction no. 12, because it appeared to be a significant
modification of the pattern instruction. Upon further discussion, it was revealed that
the government’s instruction no. 12 was based upon the outdated version of the
pattern instruction.
      3
         The parties agreed that the honest services instruction should reflect that the
allegation was for wire fraud, not mail fraud, and all proposed instructions were
modified to include language about wire fraud rather than mail fraud.
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did not accurately reflect the law following McDonnell, whereas the current

Instruction 50.2 was an accurate statement of the law. Mr. Van Buren argued that

the government’s crafted “official act” instruction: (1) discussed the specific facts of

the McDonnell case, which were not relevant or appropriate here and would confuse

the jury; (2) omitted key provisions of the Supreme Court’s ruling about what

constituted an “official act” in an honest services fraud case; and (3) was worded in

a way that implied that using the GCIC database was an official act, when that was

a question for the jury to decide. The current pattern instruction addressing “official

act” requested by Mr. Van Buren included the rule set forth in McDonnell:

             To qualify as an official act, the public official must have made
      a decision or taken an action, or agreed to make a decision or take an
      action on a question, matter, cause, suit, proceeding, or controversy.
      Further, the question, matter, cause, suit, proceeding, or controversy
      must involve the formal exercise of governmental power. It must be
      similar in nature to a lawsuit before a court, a determination before an
      agency, or a hearing before a committee. It must also be something
      specific which requires particular attention by a public official.

             The public official’s decision or action, or agreement to make a
      decision or take an action, on that question, matter, cause, suit,
      proceeding, or controversy may include using his official position to
      exert pressure on another official to perform an official act, or to advise
      another official, knowing or intending that such advice will form the
      basis for an official act by another official. But setting up a meeting,
      talking to another official, or organizing an event or agreeing to do so—
      without more—is not an official act.

      The Court ruled that it would give the government’s crafted “official act”

instruction, with certain portions omitted. Ultimately, the Court’s instruction as to


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what constitutes an “official act” was broader and more generic than both the ruling

in McDonnell and the pattern instruction. 4

      The jury instructions on honest services fraud and what constitutes an “official

act” were an incorrect statement of the law, and were detrimental to Mr. Van Buren’s

defense. In McDonnell, the Supreme Court reversed convictions in an honest

services bribery case because the jury instructions failed to adequately limit the term

“official act.” Honest services fraud requires, and does not extend beyond, bribery

and kickback schemes. United States v. Aunspaugh, 792 F.3d 1302, 1306 (2015);

Skilling v. United States, 130 S. Ct. 2896 (2010). By definition, bribery and

kickbacks involve the exchange of a thing or things of value for an official act by a

public official. “Official act” is not any action performed by a public official while

on the clock: it has a specific legal definition.

      In McDonnell, the Court refined and narrowed what conduct constitutes an

official act, as meant in a federal honest services fraud prosecution. Federal statute

defines an official act as “any decision or action on any question, matter, cause, suit,

proceeding or controversy, which may at any time be pending, or which may by law

be brought before any public official, in such official’s official capacity, or in such


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         The instruction given to the jury was not verbatim from the government’s
charge request, and written instructions were not provided to the parties. Mr. Van
Buren has requested the portion of the trial transcript including the instruction given
to the jury for the consideration of the Court and the parties, and will supplement
this motion with more particulars once the transcript has been prepared.
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official’s place of trust or profit.” 18 U.S.C. § 201(a)(3). The Court rejected the

government’s urging to take an expansive view of what qualifies as an official act.

McDonnell, 136 S. Ct. at 2368. Specifically, the government argued that nearly any

activity by a public official qualified as related to a “question or matter,” but the

Court rejected that argument, instead holding that “question or matter” must be

defined in relation to the other words in the statute—cause, suit, proceeding, and

controversy. Id. Taken together, the Court held that these terms “connote a formal

exercise of governmental power, such as a lawsuit, hearing, or administrative

decision.” Id. And that question, matter, cause, suit, proceeding, or controversy

must be “pending” or “may by law be brought,” which further circumscribes the

realm of what qualifies as an official act. Id. at 2369. “To qualify as an ‘official

act,’ the public official must make a decision or take an action on that ‘question,

matter, cause, suit, proceeding or controversy,’ or agree to do so.” Id. at 2372. The

instruction given to the jury at Mr. Van Buren’s trial was far broader than is

permitted by McDonnell.

      Because the jury was not given accurate legal instruction to allow it to resolve

the critical question whether the conduct at issue here was an official act, the interest

of justice requires the Court to grant a new trial and provide additional instruction

on this point of law to the jury at the next trial. Mr. Van Buren was prejudiced by




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the incorrect instruction. Correct instruction would have compelled a verdict of not

guilty on all charges.

                           Sufficiency of the Evidence

      A motion for new trial made on the ground that the verdict is contrary to the

weight of the evidence or contrary to the interest of justice under Federal Rule of

Criminal Procedure 33 is covered by a standard very different from a motion for

judgment of acquittal notwithstanding the verdict. See United States v. Martinez, 763

F.2d 1297, 1312 (11th Cir. 1985). This Court is not required to view the evidence

in light most favorable to the verdict and may re-weigh the evidence and consider

the credibility of witnesses. Id.; United States v. Hernandez, 433 F.3d 1328, 1335

(11th Cir. 2005). However, the Court may not re-weigh evidence and set aside the

verdict simply because it feels some other result would be more reasonable. Id. The

evidence must preponderate heavily against the verdict, such that it would be a

miscarriage of justice to let the verdict stand. The Hernandez court explained:

      If the court concludes that, despite the abstract sufficiency of the
      evidence to sustain the verdict, the evidence preponderates sufficiently
      heavily against the verdict that a serious miscarriage of justice may
      have occurred, it may set aside the verdict, grant a new trial, and submit
      the issues for determination by another jury.

433 F.3d at 1335.

      At trial, Mr. Van Buren made motions for judgment of acquittal pursuant to

Rule 29 of the Federal Rules of Criminal Procedure. At that time, counsel discussed


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in detail the insufficiency of the evidence to support conviction, namely, that the

government had not presented evidence to support the honest services fraud charge.

In order to meet its burden on that charge, the government must identify: (1) a

question, matter, cause, suit, proceeding, or controversy; and (2) that the public

official made a decision or took an action on that question, matter, cause, suit,

proceeding, or controversy. McDonnell, 136 S. Ct. 2355. The government did

neither.

      Mr. Van Buren asks that the Court grant a new trial, because the evidence

preponderates heavily against a verdict of guilty on the honest services fraud count.

In this context, the Court is not bound to view the evidence in the light most

favorable to the government. And there are substantial deficiencies in the evidence

on important points. The evidence does not allow for a finding beyond a reasonable

doubt that there was any ongoing question, matter, cause, suit, proceeding, or

controversy. The evidence also does not support a finding that, by identifying a

name associated with a license plate, Mr. Van Buren took any action or made a

decision on any question, matter, cause, suit, proceeding, or controversy.

      Notably, even prior to the decision in McDonnell limiting what qualifies as an

“official act,” a law enforcement officer merely looking up a license plate number

in a state police database did not qualify as an “official act.” In Valdes v. United

States, the D.C. Circuit, sitting en banc, considered facts nearly identical to those


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here: a police officer was approached by a CI and offered money in exchange for

looking up license plate numbers in a state database. Valdes, 475 F.3d 1319,

1321-22 (D.C. Cir. 2001 (en banc). In Valdes, the facts were more egregious than

those here: the police officer defendant looked up numerous license plates in

exchange for money on multiple occasions, including contact information as well as

whether the individual had a warrant. He was charged with three counts of bribery,

in violation of 18 U.S.C. § 201(b)(2)(A) and (C), and ultimately convicted. Id. Even

under the broader definition of “official act” prior to McDonnell, a panel of the D.C.

Circuit reversed the conviction on the basis that the police officer’s action—looking

up the license plates to obtain identification information—did not constitute an

official act. Upon rehearing en banc, the circuit court held that not every decision

or action taken by a police officer is a qualifying official act under federal statute, if

the action is not connected to an active or incipient investigation. Id. at 1322-30.

And looking up a license plate in a state database, disconnected from any ongoing

or anticipated case, did not qualify.

      Now, with the binding precedent established by McDonnell, there can be no

question that Mr. Van Buren’s action—looking a single license plate number,

unconnected from any ongoing question, matter, cause, suit, proceeding, or

controversy, and certainly not constituting “taking action” on any question, matter,

cause, suit, proceeding, or controversy—was not an official act. As such, the


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evidence was not sufficient to support conviction, and the Court should grant a new

trial pursuant to Rule 33.

                                  CONCLUSION

      WHEREFORE, Mr. Van Buren respectfully requests that this Court grant

him a new trial pursuant to Rule 33.

      Dated: This 6th day of March, 2018.

                                 Respectfully Submitted,

                                 /s/ Rebecca Shepard
                                 Rebecca Shepard
                                 Georgia Bar No. 780692

                                 s/s Regina D. Cannon
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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Defendant’s Motion for New Trial has been

formatted in Times New Roman 14pt., in accordance with Local Rule 5.1B, and

was electronically filed this day with the Clerk of Court using the CM/ECF system

which will automatically send email notification of such filing to counsel of record:

                          Jeffrey Brown, Esq.
                          Assistant United States Attorney
                          600 Richard B. Russell Building
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      Dated: This 6th day of March, 2018


                                              s/ Rebecca Shepard
                                              Rebecca Shepard
                                              Georgia Bar No. 780692




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